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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

ERIC NULL
     Plaintiff,
                                                               CASE NO.: 8:17-cv-02959
v.

HEALTH NET FEDERAL SERVICES, LLC
    Defendant.


     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                  OF DEFENDANT CENTENE CORPORATION

        Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), Plaintiff ERIC NULL hereby dismisses without

prejudice all his claims against DEFENDANT CENTENE CORPORATION. Each party is to bear

its own respective costs and attorney’s fees.

        The remaining Defendant, HEALTHNET FEDERAL SERVICES, LLC, is not voluntarily

dismissed from this action and this Notice of Dropping Certain Parties shall have no effect as to it.

                                                  Respectfully submitted,

                                                   /s/ April S. Goodwin
                                                   APRIL S. GOODWIN, ESQ.
                                                   FLORIDA BAR NO: 0502537
                                                   The Goodwin Firm
                                                   801 West Bay Drive, Suite 705
                                                   Largo, FL 33770
                                                   Attorney for Plaintiff
                                                   Phone: (727) 316.5333
                                                   april@goodwin-firm.com

                                    CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically
filed with the Clerk of Court this 20th day of December 2017, by using the CM/ECF system which
will send notice of electronic filing to all parties of record.

                                                   /s/ April S. Goodwin
                                                   APRIL S. GOODWIN, ESQ.
                                                   FLORIDA BAR NO: 0502537
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